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 1                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
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 3 Ms. L., et al.,                                      Case No. 18-cv-00428-DMS-MDD
 4                         Petitioners-Plaintiffs,
     v.
 5                                                      Date Filed: April 15, 2019
   U.S. Immigration and Customs Enforcement
 6 (“ICE”), et al.
 7                                                  DECLARATION OF MICHELLE
 8
                            Respondents-Defendants. BRANE

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14                                Declaration of Michelle Brané
15   1.    I, Michelle Brané, make the following declaration based on my personal
16   knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
17   the following is true and correct.
18   2.    I am an attorney and the Director of the Migrant Rights and Justice Program at
19   the Women’s Refugee Commission (“WRC”). I have previously submitted
20   declarations in this case.
21   3.    It is my understanding that beginning in April 2018, CBP began assigning
22   Family Unit Identifier Numbers to families apprehended together at the southern
23   border. It is my understanding that even though this number did not, and still does not
24   transfer into ICE or ORR electronic files, that CBP is able to access these numbers in
25   their system and that CBP could be directed to examine data backups or their system
26   for a list of families apprehended at the border where the identifier number was
27   recorded before it was erased.
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     4.    CBP has for many years assigned “event I.D. numbers” to groups of individuals
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     apprehended or processed in the same group.
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     5.    It is my understanding that these “event I.D. numbers” could be helpful in
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     sorting through cases to identify adults apprehended or processed at the same time as
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     children who were transferred to ORR, thus providing information about a potential
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     separation.
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     I declare under penalty of perjury under the laws of the United States of America that
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     the foregoing is true and correct, based on my personal knowledge. Executed on April
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     15, 2019
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                                           ____________/s_________________
13                                         Michelle Brané
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